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                                                                  U.S.msnUCT CQURiT
                                                                    AU^^.'STA HIV.   ,
            IN THE   UNITED   STATES DISTRICT COURT     FOR THE                      !
                     SOUTHERN DISTRICT OF GEORGIA               2816 JUL 15 AH 01
                              AUGUSTA DIVISION

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UNITED STATES OF AMERICA              *                                w             I
                                      ★


             vs.                     *      CR 112-057
                                      ★


JERRY L. MAZONE                      *




                                 ORDER




       In   2012, Defendant      Jerry L.   Mazone     was   convicted     of

possession of a firearm by a convicted felon, a violation of

18 U.S.C. §§ 922(g)(1).        Defendant was sentenced to 120 months

imprisonment on this count.           Defendant did not appeal the

conviction or sentence.          Defendant has never filed a motion

for habeas corpus relief.

       On May 31, 2016, Defendant filed a "Motion for Post-

Conviction Relief" (doc. no. 196) in which he asks whether he

is eligible for post-conviction relief pursuant to the new

rule   of   constitutional law      announced    in   Johnson v.    United

States. 135 S. Ct. 2551 (2015). Specifically, in Johnson, the

United States Supreme Court found the "residual clause" of the

Armed Career Criminal Act, 18 U.S.C. § 924(e)(2)(B)(ii), to be

void for vagueness and a violation of the Constitution's

guarantee of due process.          Id. at 2563.       In Welch v. United

States, 136 S. Ct. 1257, 1265 (2016), the Supreme Court held

Johnson retroactive in cases on collateral review.
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      In   order   to   attack     the   legality   of   his   sentence,

Defendant must petition for habeas corpus relief under 28

U.S.C. § 2255 by filing a motion to vacate, set aside or

correct his sentence.        Here, Defendant's motion for post-

conviction relief does not reference § 2255 in any way.

Nevertheless, this Court intends to recharacterize his motion

as a first § 2255 motion.          See Castro v. United States. 540

U.S. 375 (2003) (explaining that a district court must notify

a litigant of its intent to recharacterize a pro se motion as

a § 2255 habeas petition). This recharacterization means that

any subsequent § 2255 motion will be subject to the statutory

restriction on "second and successive" § 2255 motions.            See 28

U.S.C. § 2255(b) & 2255(h) (prohibiting claims in second or

successive § 2255 motions except under certain specified

circumstances). Accordingly, Defendant must notify this Court

in writing within thirty (30) days hereof if he contests the

recharacterization      of   his    motion,   whether    he    wishes   to

withdraw the motion, or whether he wishes to amend the motion

to assert any other § 2255 claims aside from his Johnson

claim.^    If Defendant fails to respond to this Order within 30



     ^ The CLERK is DIRECTED to attach a copy of the standard
form for § 2255 motions to Defendant's service copy of this
Order in case he decides to amend his filing to include
additional § 2255 claims.   If Defendant chooses to amend his
motion, he must set forth all his § 2255 claims on the attached
form, including his Johnson claim. In other words, if Defendant
files an amended motion on the form provided, the Court will not
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days,      his   motion        for   post-conviction      relief    will    be

recharacterized as a § 2255 motion, the Clerk will docket it

as a new civil action,^ and his claims will be addressed under

the standards applicable to § 2255 motions.

        Further,     while Defendant asks for the appointment of

counsel in his motion. Defendant must proceed in this matter

pro   se    because       he   has   not   demonstrated    the   exceptional

circumstances that would warrant the appointment of counsel.

See   28    U.S.C.    §    2255(g)    (incorporating      by   reference   the

standards of 18 U.S.C. § 3006A(a)(2)(B) for the appointment of

counsel).

      ORDER ENTERED at Augusta, Georgia, this /i^dav of
July, 2016.




                                            HONORA^E J. RANDAL HALL
                                            UNITEiy STATES DISTRICT JUDGE
                                            S0UTh6iN DISTRICT OF GEORGIA




consider the original motion; rather, the amended motion will
supersede the original motion in its entirety. See Pintando v.
Miami-Dade Hons. Acrency, 501 F.3d 1241, 1243 (11'^'^ Cir. 2007);
Lowerv v. Ala. Power Co., 483 F.3d 1184, 1219 (11"^*^ Cir. 2007).
Any new claims filed by Defendant are subject to the one-year
statute of limitations of the Antiterrorism and Effective Death
Penalty Act ("AEDPA"),     28 U.S.C. § 2255(f), and all other
applicable standards governing § 2255 actions.

      ^    The Clerk shall docket the new civil action as a motion
under 28 U.S.C. § 2255 with a nunc pro tune filing date of May
31, 2016.
